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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    MARY M. FRENCH, Bar #126643
     Supervising Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    JESUS DIAZ OLIVERA

7
8
                        IN THE UNITED STATES DISTRICT COURT
9
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,       )     No. 2:06-cr-0323-MCE
12                                   )
                    Plaintiff,       )     STIPULATION AND ORDER CONTINUING
13                                   )     STATUS CONFERENCE
          v.                         )
14                                   )
     JESUS DIAZ OLIVERA, et al.,     )     Date: April 24, 2007
15                                   )     Time: 8:30 a.m.
                    Defendants.      )     Judge: Morrison C. England, Jr.
16   _______________________________ )

17
18        It is hereby stipulated between the parties, Mary M. French,

19   attorney for the defendant Jesus Diaz Olivera, Michael Bigelow,

20   attorney for defendant Javier Villalobos Garcia, Carl Edward Larson,

21   attorney for defendant Jose Maria Gomez Ortega, and Samuel Wong,

22   Assistant United States Attorney, attorney for the plaintiff, that the

23   Status Conference in this matter, currently scheduled for March 13,

24   2007, be continued until April 24, 2007 at 8:30 a.m.

25        The primary language of each defendant in this matter is Spanish

26   such that communications between all defense counsel and their

27   respective clients, including all discovery, must take place through an

28   interpreter.   Defense counsel have received discovery but need
     additional time to review and discuss the discovery produced by
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1    plaintiff with their respective clients, and also to conduct necessary
2    research, interview potential witnesses, and conduct on-going defense
3    investigation.   Also, the parties are discussing a possible resolution
4    of the case and additional time is needed for each defense counsel to
5    properly advise his/her client on the ramifications of the proposed
6    pretrial resolution in this case.
7         It is further stipulated that the period from March 13, 2007,
8    through and including April 24, 2007, should be excluded from
9    computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act pursuant to 18 U.S.C.
11   §3161(h)(8)(B)(iv) and Local Code T4 based upon defense preparation.
12                                          Respectfully submitted,
13   Dated: March 12, 2007
14                                          DANIEL J. BRODERICK
                                            Federal Defender
15
                                            /s/ Mary M. French
16                                          ______________________________
                                            MARY M. FRENCH
17                                          Supervising Assistant
                                            Federal Defender
18                                          Attorney for Defendant
                                            JESUS DIAZ OLIVERA
19
20                                         /s/ Mary M. French for
                                           ______________________________
21                                         MICHAEL BIGELOW
                                           Attorney for Defendant
22                                         JAVIER VILLALOBOS GARCIA
23
                                           /s/ Mary M. French for
24                                         ______________________________
                                           CARL EDWARD LARSEN
25                                         Attorney for Defendant
                                           JOSE MARIA GOMEZ ORTEGA
26
     //
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1    Dated: March 12, 2007                  MCGREGOR W. SCOTT
                                            United States Attorney
2
3                                           /s/ Mary M. French for
                                            ______________________________
4                                           SAMUEL WONG
                                            Assistant U.S. Attorney
5                                           per telephonic authorization
6
7                                         ORDER
8         Based on the stipulation of the parties and good cause appearing,
9    the Court hereby finds that the failure to grant a continuance in this
10   case would deny defendants’ counsel reasonable time necessary for
11   effective preparation, taking into account the exercise of due
12   diligence.   The Court specifically finds that the ends of justice
13   served by the granting of such continuance outweigh the interests of
14   the public and the defendants in a speedy trial.
15        Therefore, based on these findings and pursuant to the stipulation
16   of the parties, the Court hereby adopts the stipulation of the parties
17   in its entirety as its order.
18
     IT IS SO ORDERED.
19
20   Dated: March 19, 2007

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                                          _____________________________
22                                        MORRISON C. ENGLAND, JR.
23                                        UNITED STATES DISTRICT JUDGE

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